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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

SERENITIVA LLC,                                    )
                                                   )
                         Plaintiff,                )
                                                   )
           v.                                      )     C.A. No. 17-1203 (GMS)
                                                   )
UNIFY INC. d/b/a UNIFY ENTERPRISE                  )
COMMUNICATIONS INC.,                               )
                                                   )
                         Defendant.                )

                                  STIPULATION OF DISMISSAL


           Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Serenitiva LLC and

Defendant Unify Inc. d/b/a Unify Enterprise Communications Inc. hereby stipulate and agree

that all claims in this action are dismissed with prejudice. Each party shall bear its own costs,

expenses, and attorneys’ fees.

STAMOULIS & WEINBLATT LLC                              MORRIS, NICHOLS, ARSHT & TUNNELL LLP


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January 17, 2018
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                  SO ORDERED this ___ day of _________, 2018.



                                                    UNITED STATES DISTRICT JUDGE
